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August 30, 2024



Hon. Lewis J. Liman
United States District Court
Southern District of New York
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:       Lalli v. Warner Bros. Discovery, Inc.
          Case No. 1:24-cv-03178-LJL

Dear Judge Liman:

Defendant does not consent to Plaintiff’s First Amended Complaint. Plaintiff and her counsel did not
inform Defendant that the First Amended Complaint would be filed or seek our consent to the First
Amended Complaint. We would like to have an opportunity to respond to Plaintiff’s Motion to Amend
and to oppose the amendment under the standards of Rule 15(a)(2).

Thus, Defendant’s pending motion to dismiss and/or transfer the complaint should not be dismissed as
moot at this time.

Respectfully submitted,


/s/ William J. Anthony

William J. Anthony
Shareholder




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